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AO 2458 (Rev. 02/08/2019) Judg_ment in a Criminal Petty Case (Modified)                                                                   Page 1 of I


                                    UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA

                     United States of America                                     JUDGMENT IN A CRIMINAL CASE
                                      V.                                          (For Offenses Committed On or After November 1, 1987)



                        Jose Gallegos Avalos                                      Case Number: 21CR02304-RBM

                                                                                  Jo Anne T}'.!ell, Federal Defenders
                                                                                  Defendant's Attorney


REGISTRATION NO. 55268509
THE DEFENDANT:
 IZI pleaded guilty to count(s) 1 oflnformation
                                           ---------------------------
 •    was found guilty to count(s)
      after a plea of not guilty.
      Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title & Section                   Nature of Offense                                                                Count Number{s)
8:1325(a)(l)                      Improper Entry by an Alien (Misdemeanor)                                         1

 D The defendant has been found not guilty c,n count( s)
                                                                           -------------------
 IZI Count(s) Two of the Information                                               dismissed on the motion of the United States.

                                            IMPRISONMENT
       The defendant is hereby committed to the. custody of the United States Bureau of Prisons to be
imprisoned for a term of:

                               IZI TIME SERVED                               D _ _ _ _ _ _ _ _ _ days

 IZI Assessment: $10 WAIVED IZI Fine: WAIVED
 IZI Court recommends USMS, ICE or DHS or other arresting agency return all property and all documents in
 the defendant's possession at the time of arrest upon their deportation or removal.
 •   Court recommends defendant be deported/removed with relative, _ _ _ _ _ _ _ _ _ charged in case


     IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attorney of any material change in the defendant's economic circumstances.

                                                                          Wednesday, October 20, 2021
                                                                          Date of Imposition of Sentence


Received
              DUSM                                                        ~~~GRO
                                                                          UNITED STATES MAGISTRATE JUDGE



Clerk's Office Copy                                                                                                      21CR02304-RBM
